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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


NATIONAL ASSOCIATION FOR THE
ADVANCEMENT OF COLORED PEOPLE                           Case No. 1:20-cv-01996 (DLF)
(NAACP), et al.,

               Plaintiffs,

       vs.

ELISABETH “BETSY” D. DEVOS, in her official
capacity as the United States Secretary of Education,
and the UNITED STATES DEPARTMENT OF
EDUCATION,

               Defendants.




MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFFS’
MOTION FOR PRELIMINARY INJUNCTIVE RELIEF OR, IN THE ALTERNATIVE,
                   FOR SUMMARY JUDGMENT
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                                        INTRODUCTION

       In March 2020, Congress enacted the Coronavirus Aid, Relief, and Economic Security Act

(“CARES Act”), which—among other critical measures—appropriated $16.5 billion to

elementary and secondary public schools. Congress recognized the increased costs to public

schools for food, safety, and technology due to the pandemic as well as COVID-19’s devastating

impact on state and local revenues. In light of the urgent need for emergency relief, Congress

appropriated funds for immediate disbursement to school districts. Public schools, which serve

99% of low-income students and almost 70% of students of color in America, need every penny

that Congress allocated in these unprecedented times. Defendants Elisabeth “Betsy” D. DeVos,

the United States Secretary of Education (the “Secretary”), and the United States Department of

Education (the “Department”) have unilaterally and unlawfully decided to funnel hundreds of

millions of those dollars away from students in public schools to the benefit of affluent private-

school students. They did so by enacting, without delegated authority, a rule requiring public-

school districts to allocate CARES Act funds to private schools in a manner that is flatly

inconsistent with the plain text of the statute. This illegal diversion of funds at this perilous

moment must be halted in its tracks. Plaintiffs respectfully ask this Court to enter a preliminary

injunction to stop implementation of Defendants’ harmful rule.

       Plaintiffs—the National Association for the Advancement of Colored People (“NAACP”),

individual public-school students and their parents from across the country, Broward County

Public Schools (“BCPS”), DeKalb Public Schools (“DeKalb”), Denver Public Schools (“DPS”),

Pasadena Unified School District (“Pasadena Unified”), and Stamford Public Schools (“SPS”)—

are likely to succeed on the merits of their claims. In the text of the CARES Act, Congress

expressly limited the provision of funds to private-school students, providing for allocation “in the

same manner as provided under section 1117 of the ESEA [Elementary and Secondary Education


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Act] of 1965.” Section 1117 of the ESEA indisputably requires allocation of funds to private

schools based on the number of low-income private-school students. Likewise, for decades the

Department has recognized in its own guidance that section 1117 of the ESEA allocates funding

for the benefit of private schools based on the number of low-income private-school students.

        Nevertheless, the Department inexplicably issued guidance, and then an interim final rule

(the “Rule”), requiring local educational agencies (“LEAs”) to divert CARES Act funds to private

schools based on the total private-school population, not just low-income students who attend

private schools, or else face severe limitations on the expenditure of the rest of their CARES Act

funds that appear nowhere in the Act. The Rule would result in the diversion of hundreds of

millions of dollars—which Congress appropriated to help public schools provide safe and

productive learning environments during the pandemic—away from public-school students.

        The Rule violates the federal Administrative Procedure Act (“APA”) and the United States

Constitution. First, the Department exceeded its congressionally delegated authority by issuing

the Rule. The CARES Act delegates no rulemaking authority to the Department, and the Rule

cannot be reconciled with the unambiguous statutory text that it purports to interpret. The Rule

warrants no deference. Second and third, the Rule infringes on Congress’s power under the

Spending Clause and violates the constitutional separation of powers by rewriting the

appropriation established by Congress in the statute. Fourth, the Rule is arbitrary and capricious

because it is inconsistent with prior Department guidance, and is based on an interpretation so

ungrounded in the text and purpose of the CARES Act as to render it wholly implausible. Fifth,

the Rule was promulgated without observance of the procedures required by law. In light of the

direct conflict between the plain text of the statute and the Rule, Plaintiffs are highly likely to

prevail in this suit.




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       Plaintiffs will be irreparably harmed absent a preliminary injunction. The CARES Act

funds are needed now—not three, six, or twelve months from now. As Congress recognized when

it appropriated billions of dollars to public schools, this is no ordinary time. It is challenging

enough to determine how to safely and effectively educate students in a pandemic. On top of these

extraordinary challenges, the Rule is causing profound confusion and consequent delay in school

districts’ use of the CARES Act funds. Meanwhile, children’s education, health, and safety

literally hang in the balance. The last thing that vulnerable children can afford is to have large

swaths of money diverted to more affluent private-school students as this enormously difficult

school year begins. Indeed, the impact of delayed educational services on children’s learning

grows exponentially, exacerbating existing achievement gaps and creating new ones that cannot

be bridged. And, the lack of important safety equipment, supplies, and personnel could be the

difference between a student, a teacher, or a family member’s life and death—truly irreparable

consequences.

       Finally, the balance of equities weighs strongly in Plaintiffs’ favor, and the public interest

warrants entry of an injunction. A preliminary injunction would merely preserve the status quo,

while causing no harm to Defendants, and preventing enormous harm to Plaintiffs and the public.

Defendants cannot suffer harm from a preliminary injunction that simply ends an unlawful

practice. Nor had private schools expected this windfall of public funds. Equitable services have

been provided the same way for decades. Continuing this practice causes no harm. The public

interest also favors protecting vulnerable public-school students and their families and ensuring

Defendants comply with Congress’s mandate concerning emergency pandemic funds. The Court

should grant Plaintiffs’ motion for preliminary injunctive relief.

       In the alternative, Plaintiffs ask the Court to convert this motion to a motion for summary

judgment, expedite briefing and consideration of that motion, including submission of the

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administrative record, and conclusively decide the facial invalidity of the Rule. Time is of the

essence in unprecedented ways.

                       STATUTORY AND FACTUAL BACKGROUND

I.       THE CARES ACT

         Congress acted to address the devastating financial effects of COVID-19 on the nation’s

communities, businesses, and public education institutions. On March 27, 2020, the Coronavirus

Aid, Relief, and Economic Security Act (“CARES Act”), Pub. L. No. 116-136, 134 Stat. 281

(2020), was signed into law. With respect to educational relief, the CARES Act created a $30.75

billion Education Stabilization Fund (“ESF”) to enable public education institutions nationwide to

“prevent, prepare for, and respond to coronavirus.” CARES Act § 18001, 134 Stat. 564-566.

         The CARES Act directs the Secretary to allocate the moneys appropriated for the ESF to

three separate sub-funds: (1) the Governor’s Emergency Education Relief (“GEER”) Fund (9.8%);

(2) the Elementary and Secondary School Emergency Relief (“ESSER”) Fund (43.9%); and (3)

the Higher Education Emergency Relief (“HEER”) Fund (46.3%). CARES Act §§ 18001(b)(1)–

(3), 134 Stat. 564. 1 The Act further directs the Secretary to disburse those funds in accordance

with precise formulas. The only grant of discretionary authority to the Secretary with respect to

the funds is the authority to allocate 2.5 percent of the HEER funds to the institutions that the

Secretary determines have the greatest unmet needs. CARES Act § 18004(a)(3), 134 Stat. 567–

68. The Secretary is granted no discretionary authority over the allocation of the GEER or ESSER

Funds.



1
 Ultimately, $2,953,230,000 was allocated for the GEER Fund and $13,229,265,000 was allocated
for the ESSER Fund. See U.S. Dep’t of Educ., Governor’s Emergency Education Relief Fund
State Allocations Table 1 (2020), https://oese.ed.gov/files/2020/04/GEER-Fund-State-
Allocations-Table.pdf; U.S. Dep’t of Educ., Elementary and Secondary School Emergency Relief
Fund State Allocations Table 1 (2020), https://oese.ed.gov/files/2020/04/ESSER-Fund-State-
Allocations-Table.pdf.
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       A.     Governor’s Emergency Education Relief (“GEER”) Fund

        The CARES Act provisions governing the GEER Fund direct the Secretary to make

emergency relief grants from the Fund “to the Governor of each State with an approved

application.” CARES Act § 18002(a), 134 Stat. 564. The Act directs the Secretary to allocate the

“amount of each grant” using the following formula: (1) 60 percent based on the State’s “relative

population of individuals aged 5 through 24,” and (2) 40 percent based on the State’s “relative

number of children counted under section 1124(c)” of the ESEA. CARES Act § 18002(b), 134

Stat. 564–565. Section 1124(c)—part of Title I-A of the ESEA—defines “children to be counted”

as those from low-income families. See 20 U.S.C. § 6333(c).

       Once the Secretary has made a grant from the GEER Fund to a Governor, the Governor

may use the GEER funds for any of three, broad purposes: (1) to “provide emergency support

through grants to [LEAs] that the [State Educational Agency or “SEA”] deems have been most

significantly impacted by coronavirus,” CARES Act § 18002(c)(1), 134 Stat. 565; (2) to “provide

emergency support through grants to institutions of higher education serving students within the

State that the Governor determines have been most significantly impacted by coronavirus,”

CARES Act § 18002(c)(2), 134 Stat. 565; and (3) to “provide support to any other institution of

higher education, [LEA], or education related entity within the State that the Governor deems

essential for carrying out emergency educational services to students.” CARES Act § 18003(c)(3),

134 Stat. 565. The Act contains no restrictions on which schools within eligible LEAs may receive

a subgrant of GEER funds under subsection 18002(c)(1). Instead, the Act provides broad

flexibility to LEAs to use such funds “to provide educational services to their students and to

support the on-going functionality of the [LEA].” See CARES Act §§ 18002(c)(1), (3), 134 Stat.

565.




                                               5
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        B.      Elementary and Secondary School Emergency Relief (“ESSER”) Fund

        The CARES Act provisions governing the ESSER Fund direct the Secretary to make

emergency relief grants from the Fund to “each [SEA] with an approved application.” CARES

Act § 18003(a), 134 Stat. 565. Specifically, the statute directs that the “amount of each grant . . .

shall be allocated by the Secretary to each State in the same proportion as each State received

under [Title I-A] in the most recent fiscal year.” CARES Act § 18003(b), 134 Stat. 565. The

allocation of Title I-A funds to the States is determined by formulas specified in 20 U.S.C. §§

6632–6639, based primarily on the number of children from low-income families and foster

children in each State’s LEAs. At least 90 percent of ESSER grants received by SEAs must then

be subgranted to LEAs within the State. CARES Act § 18003(c), 134 Stat. 565. Similar to the

Secretary’s allocations to SEAs, SEAs are required to subgrant those funds to LEAs “in proportion

to the amount of funds such [LEAs] . . . received under [Title I-A] in the most recent fiscal year.”

Id. An LEA that did not participate in Title I-A in the previous fiscal year—generally speaking,

those with small numbers of low-income students—is not eligible for an ESSER subgrant.

However, the Act contains no restrictions on which schools within the eligible LEAs may receive

ESSER Funds. So long as an LEA receives Title I-A funds, the LEA may distribute ESSER funds

to both Title I and non-Title I schools within its district.

        The CARES Act authorizes LEAs to use ESSER funds for a broad range of purposes,

including (1) any activities authorized under the ESEA and various other federal education

statutes; (2) coordination of preparedness and response efforts of LEAs with State, local, Tribal,

and territorial public health departments and other relevant agencies; (3) activities to address the

unique needs of low-income students and/or students with disabilities, English learners, racial and

ethnic minorities, students experiencing homelessness, and foster care youth; (4) planning and

coordination during long-term closures, including purchases of technology for online distance


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learning; (5) mental health services and support; and (6) other purposes. See generally CARES

Act § 18003(d), 134 Stat. 565–566 (cataloging permissible purposes for use of ESSER funds).

       C.      Equitable Services for Private-School Students

       Section 18005(a) of the CARES Act requires that LEAs receiving funds from either the

GEER Fund or the ESSER Fund allocate some of those funds to the provision of “equitable

services” to private-school students within their district. 134 Stat. 568. In particular, section

18005(a) unambiguously specifies that LEAs “shall provide equitable services in the same manner

as provided under section 1117 of the ESEA of 1965 to students and teachers in non-public

schools.”    Id. (emphasis added).       Section 1117, in turn, unambiguously provides that

“[e]xpenditures for educational services and other benefits to eligible private school children shall

be equal to the proportion of funds allocated to participating school attendance areas based on the

number of children from low-income families who attend private schools.”                 20 U.S.C.

§ 6320(a)(4)(A)(i) (emphasis added); see also 20 U.S.C. § 6313(a)(2) (defining “school attendance

area” as the geographic area in which children are served by a Title I-A school). In other words,

the “manner” in which equitable services are provided under section 1117 of the ESEA is the

allocation of federal funds to private schools based on the number of low-income students in those

private schools.

       By explicitly incorporating the terms of section 1117 into the CARES Act, Congress

unambiguously dictated that LEAs allocate CARES Act funds for equitable services to private-

school students in exactly the same way as they allocate Title I-A funds to private-school students.

Indeed, the ESEA contains a different provision—section 8501—specifying a range of equitable

services that SEAs must provide based on the total enrollment of private-school students. See

generally 20 U.S.C. §§ 7881(a)–(b). By selecting the formula specified in section 1117, rather

than section 8501, Congress unambiguously directed LEAs to provide equitable services under the


                                                 7
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CARES Act to private-school students based on the number of low-income private-school students,

not the total number of private-school students.

          As recently as October 2019, the Department’s own guidance regarding equitable services

to private-school students under section 1117 fully acknowledged that federal funding for

equitable services should be based on the number of low-income private-school students, not the

total number of private-school students. 2 That guidance, which is still still in effect, provides:

“The ESEA requires an LEA to determine an accurate count of children from low-income families

who attend public and private schools and reside in participating Title I public school attendance

areas in order to allocate the proportional share.” 3 Department guidance has reflected that same

formula for decades. 4




2
 U.S. Dep’t of Educ., Title I, Part A of the Elementary and Secondary Education Act of 1965, as
Amended by the Every Student Succeeds Act: Providing Equitable Services to Eligible Private
School Children, Teachers, and Families – Updated Non-Regulatory Guidance 19 (Oct. 7, 2019)
https://www2.ed.gov/about/inits/ed/non-public-education/files/equitable-services-guidance-
100419.pdf.
3
    Id.
4
  See U.S. Dep’t of Educ., Non-Regulatory Guidance: Fiscal Changes and Equitable Services
Requirements under the Elementary and Secondary Education Act of 1965 (ESEA), as Amended
by the Every Student Succeeds Act (ESSA) 29 (Nov. 21, 2016) (“Using the proportion of children
from low-income families who attend private schools, the LEA would determine the amount of
funds available for equitable services based on that proportionate share of the LEA’s total Title I
allocation.”)                                  (emphasis                                   added),
https://www2.ed.gov/policy/elsec/leg/essa/essaguidance160477.pdf; U.S. Dep’t of Educ.,
Ensuring Equitable Services to Private School Children: A Title I Resource Tool Kit 55 (Sept.
2006) (“[The ESEA] requires that Title I expenditures for educational services and other benefits
to eligible private school students be equal to the proportion of funds allocated to participating
public school attendance areas based on the number of private school children from low-income
families.”) (emphasis added); https://www2.ed.gov/programs/titleiparta/ps/titleitoolkit.pdf; U.S.
Dep’t of Educ., Title I Services to Eligible Private School Children, Non-Regulatory Guidance 5
(Oct. 17, 2003) (“The amount of Title I funds allocated to each participating public school
attendance area is determined mainly on the basis of the total number of low-income students—
both     public     and    private--    residing    in   each     area.”)    (emphasis     added),
https://www2.ed.gov/programs/titleiparta/psguidance.doc.
                                                   8
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II.    THE APRIL 30, 2020 GUIDANCE DOCUMENT & PUBLIC RESPONSE

       For over a month after the CARES Act’s passage, the Department stayed silent, and

Plaintiff LEAs made plans to follow the plain language of the Act, understanding that funds would

be allocated to services for private-school students following the formula set forth in section 1117.

But, on April 30, 2020, the Department issued a guidance document for the CARES Act

(“Guidance Document”). Without explanation and in direct contradiction of the Department’s

prior guidance concerning section 1117, the Guidance Document advised LEAs to calculate the

allocation of CARES Act (GEER and ESSER) funds for equitable services based on the total

number of students enrolled in private schools, as opposed to the number of low-income students

enrolled in private schools as specified in section 1117 of the ESEA.

        In other words, the Guidance Document discarded the calculation formula specified in

section 1117 of the ESEA in favor of one resembling the calculation formula in section 8501 of

the ESEA. See 20 U.S.C. § 7881(a)–(b); supra 7. But, Congress incorporated section 1117, not

section 8501, of the ESEA into the CARES Act.

       Unsurprisingly, the Department’s Guidance Document drew swift criticism from education

experts, state education officials, and members of Congress who passed the CARES Act, 5

including Republicans and Democrats. For example, members of several Committees in the House

and Senate wrote the Secretary urging her to “immediately revise [the Department’s] April 30

guidance . . . to come into compliance with the CARES Act and section 1117 of ESEA.” 6 The


5
  The responses of state education officials and education experts are detailed and documented in
the Complaint. See Dkt. No. 1 at 30–35, ¶¶ 54–56(a)–(h).
6
   Letter from Robert C. “Bobby” Scott, Chair, Comm. on Educ. & Labor, U.S. House of
Representatives, et al., to Betsy DeVos, Sec’y, U.S. Dep’t of Educ. (May 20, 2020),
https://edlabor.house.gov/imo/media/doc/2020-5-20%20Ltr%20to%20DeVos%20re%20
Equitable%20Services.pdf; The Congressional Research Service, too, recognized that the
Guidance Document was seemingly contrary to the plain text of the statute. Congressional
Research Service Report, CARES Act Education Stabilization Fund: Background and Analysis 24
(last updated Aug. 6, 2020), https://crsreports.congress.gov/product/pdf/R/R46378.
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letter chastised the Department for attempting “to repurpose hundreds-of-millions of taxpayer

dollars intended for public school students to provide services for private school students, in

contravention of both the plain reading of the statute and the intent of Congress.” 7 The following

day, Senator Lamar Alexander of Tennessee, Chair of the Senate Education Committee, reportedly

confirmed his—and Congress’s—understanding “that the money should have been distributed in

the same way we distribute Title I money.” 8 Nevertheless, the Department declined to clarify,

revise, or rescind the Guidance Document.

III.      THE DEPARTMENT’S RULE

          Despite robust public outcry, on July 1, 2020, the Department dug in its heels and enshrined

the guidance in a binding interim final rule, CARES Act Programs; Equitable Services to Students

and Teachers in Non-Public Schools. See 85 Fed. Reg. 39,479 (July 1, 2020). The Rule became

effective upon its publication in the Federal Register, rather than after a public comment period.

See id. Corresponding federal regulations are collected at 34 C.F.R. § 76.665.

          Rather than follow Congress’s explicit instruction in the CARES Act, 9 the Rule creates

two unlawful options that are binding on LEAs. Under one option, an LEA must follow the

formula outlined in the Guidance Document and calculate the share of CARES Act funds for the

benefit of private schools based on the total population of private-school students, instead of low-

income private-school students (“Option 1”). 85 Fed. Reg. 39,482. Or, under the other option, an


7
    Id.
8
  See Laura Meckler, Betsy DeVos defends decision to direct stimulus money to private schools,
WASH. POST, May 21, 2020, https://www.washingtonpost.com/local/education/betsy-devos-
stimulus-private-schools/2020/05/21/d790b926-9b99-11ea-ad09-8da7ec214672_story.html.
9
  As they did with the Guidance Document, members of Congress wrote a letter to Secretary
DeVos demanding that she rescind the Rule. See Letter from Robert C. “Bobby” Scott, Chair,
Comm. on Educ. & Labor, U.S. House of Representatives, et al., to Betsy DeVos, Sec’y, U.S.
Dep’t              of              Educ.            (July            31,            2020),
https://underwood.house.gov/sites/underwood.house.gov/files/IL%20Delegation%20Equitable%
20Services%20IFR%20Comment%20letter.pdf.
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LEA can follow the formula set forth in section 1117 (calculating the amount based only on the

number of low-income students attending private schools), but must use its remaining CARES Act

funds to serve only its Title I-A schools, which are schools with at least 40% of their students from

low-income families or foster care, see 20 U.S.C. § 6314(a)(1)(A), and cannot use any funds for

its non-Title I schools (“Option 2”), see 85 Fed. Reg. 49,482. And, importantly, LEAs choosing

Option 2 are subjected to a “supplement, not supplant” requirement, which prohibits the LEA from

using CARES Act funds to cover expenditures that would normally be covered by state and local

funds. Id.; see also 20 U.S.C. § 6321(b)(1) (section 1118(b) of the ESEA, providing that “[a] State

educational agency or local educational agency shall use Federal funds . . . only to supplement the

funds that would, in the absence of such Federal funds, be made available from State and local

sources for the education of students participating in programs assisted under this part, and not to

supplant such funds”). But the CARES Act expressly does not limit the type of schools at which

the funds may be spent and contains no “supplement, not supplant” restriction on the use of the

funds.

         The Rule thus presents LEAs—and by extension, the public-school students and families

they serve—with a lose-lose decision: either (1) retain discretion to spend CARES Act funds in all

public schools as Congress intended, but forfeit a much larger share of those funds to private

schools than Congress intended; or (2) allocate CARES Act funds to private schools according to

the formula set forth in the statute, but forfeit the discretion to determine how and where those

funds are spent in public schools. Regardless which option LEAs choose, the LEAs, their public

schools, public-school students, and students’ families are harmed.

IV.      THE COMPLAINT

         On July 22, 2020, Plaintiffs filed a Complaint seeking declaratory and injunctive relief.

Dkt. No. 1. On the same day they filed this motion, Plaintiffs filed a First Amended Complaint


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(“Complaint”) adding new Plaintiffs to the lawsuit. Count One of the Complaint alleges that the

Rule constitutes ultra vires agency action in violation of the constitutional separation of powers.

Count Two alleges that the Rule violates the Spending Clause of the U.S. Constitution. Counts

Three and Four allege that the Rule exceeds the Secretary’s statutory authority and is not in

accordance with law, in violation of the Administrative Procedure Act (“APA”). Count Five

alleges that the Rule is arbitrary and capricious agency action in violation of the APA. And Count

Six alleges that the Department promulgated the Rule without complying with the APA’s notice-

and-comment requirements.

       The Amended Complaint, now buttressed by Plaintiffs’ declarations, alleges that Plaintiffs

Broward County Public Schools (“BCPS”), DeKalb County School District (“DeKalb”), Denver

County School District No. 1, a/k/a Denver Public Schools (“DPS”), Pasadena Unified School

District (“Pasadena Unified”), and Stamford Public Schools (“SPS”) each will be directly injured

by the Rule, because each is an LEA within the meaning of the ESEA, and the Rule thus directly

restricts the amount and use of each LEA’s CARES Act funds. FAC ¶¶ 22-26. If these LEAs

choose Option 1, all of their public schools will receive fewer CARES Act funds on a per-pupil

basis. Id. If they choose Option 2, none of their non-Title I public schools will receive CARES

Act funds, and the CARES Act funds for their Title I public schools will be subject to an unlawful

“supplement, not supplant” restriction. Id.

       The Complaint further alleges that each individual Plaintiff and his or her minor children

will be directly injured by the Rule because the children are enrolled in either (1) non-Title I public

schools in LEAs that administer both Title I and non-Title I schools (“mixed districts”), (2) Title I

public schools in LEAs administering mixed districts, or (3) Title I public schools in LEAs that

administer only Title I schools. FAC ¶¶ 19-21. Their children’s schools will lose resources under

the Rule regardless of which budgeting “option” their districts adopt. For children enrolled in non-

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Title I public schools in mixed districts, Option 1 will reduce the amount of CARES Act funding

available to the schools, and Option 2 will eliminate the CARES Act funds to the schools entirely.

Id. ¶ 19. For children enrolled in Title I schools in mixed districts, Option 1 will reduce the CARES

Act funding available to the schools, and Option 2 will prohibit the schools from using CARES

Act funds for any services previously provided using state and local funding. Id. ¶ 20. For children

enrolled in Title I schools in Title I-only districts, the schools will be forced to accept additional

“supplement, not supplant” restrictions on the way they spend their CARES Act funds. Id. ¶ 21.

       Finally, the Complaint alleges that Plaintiff NAACP’s national membership includes

numerous individuals who would be directly injured by the Rule, including many parents of minor

children attending Title I and non-Title I public schools in LEAs that either (1) stand to lose

substantially increased amounts of CARES Act funds to private-school students, or (2) will be

forced to accept significant restrictions on their use of CARES Act funds, if the Rule were

enforced. FAC ¶ 18a. These individuals include Teresa Haley and her minor grandchild, T.M.,

Kimberly Griffin and her minor child, C.G., Eugene Howard and his minor children, M.R. and

E.H., and Jabari Jones and his minor children, J.J. and J.J. Id. Public schools that will be harmed

by the Rule serve the vast majority of students of color in the United States, whereas private

schools that will benefit from the Rule are almost 70% white. Id. Because the Rule directly injures

its members, and disproportionately harms students of color and benefits primarily white students,

the NAACP has a clear and demonstrable interest in ensuring that federal education funds under

the CARES Act are distributed to their intended recipients. Id.

       Likewise, Plaintiffs allege that, as a core part of its mission, the NAACP advocates for

racial equity in public education, and trains its units and members on proper implementation of the

ESEA and all relevant regulations. Id. ¶ 18b. Because the Rule disproportionately harms students

of color and causes considerable confusion in how LEAs may distribute federal funds, the NAACP

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will need to expend a greater portion of its finite resources advocating for equity in CARES Act

spending and training its units and members on proper implementation of the Act. Id.

                                      LEGAL STANDARD

       The purpose of a preliminary injunction is “to preserve the relative positions of the parties

until a trial on the merits can be held.” Univ. of Tex. v. Camenisch, 451 U.S. 390, 395 (1981).

“The decision whether to enter a preliminary injunction turns on four factors: (i) whether the

plaintiff is likely to succeed on the merits of the action; (ii) whether she will suffer irreparable

harm absent an injunction; (iii) whether the balance of the equities tips in her favor; and (iv)

whether an injunction is in the public interest.” J.D. v. Azar, 925 F.3d 1291, 1325 (D.C. Cir. 2019).

In this Circuit, courts evaluate the four preliminary injunction factors on a “sliding scale”—if a

“movant makes an unusually strong showing on one of the factors, then it does not necessarily

have to make as strong a showing on another factor.” Davis v. Pension Benefit Guar. Corp., 571

F.3d 1288, 1291–92 (D.C. Cir. 2009). 10

                                          ARGUMENT

I.     PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS OF THEIR CLAIMS.

       A.      Plaintiffs Are Likely to Succeed on the Merits of Their Claim that the Rule is
               Ultra Vires in Violation of the Separation of Powers.




10
   Though the sliding scale approach was called into question by Winter v. Natural Resources
Defense Council, Inc., 555 U.S. 7 (2008), this Court has since clarified that “[i]n the absence of a
D.C. Circuit decision overruling it, the sliding scale framework remains binding precedent that
this court must follow.” Confederated Tribes of Chehalis Reservation v. Mnuchin, No. 20-CV-
01002 (APM), 2020 WL 1984297, at *7 (D.D.C. Apr. 27, 2020). Accordingly, at minimum,
Plaintiffs “must make a ‘clear showing that four factors, taken together, warrant relief.’” League
of Women Voters of U.S. v. Newby, 838 F.3d 1, 6 (D.C. Cir. 2016) (quoting Pursuing Am.’s
Greatness v. FEC, 831 F.3d 500, 505 (D.C. Cir. 2016)). The sliding scale “allow[s] that a strong
showing on one factor could make up for a weaker showing on another.” Sherley v. Sebelius, 644
F.3d 388, 392 (D.C. Cir. 2011). “It is in this sense that all four factors ‘must be balanced against
each other.’” Davis, 571 F.3d at 1292 (quoting Davenport v. Int’l Bd. of Teamsters, 166 F.3d 356,
361 (D.C. Cir. 1999)). The weighing of the four factors is within this Court’s discretion. See id.
at 1291.
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       First, Plaintiffs are likely to prevail on their claim that the Rule is ultra vires and violates

the separation of powers. Defendants imposed conditions on federal spending without any

authority whatsoever to do so and in direct contradiction of the CARES Act. It is well-established

that such an ultra vires action is unlawful and void.

       An agency action is ultra vires if it is “a patent violation of agency authority.” Fla. Health

Scis. Ctr., Inc. v. Sec’y of HHS, 830 F.3d 515, 522 (D.C. Cir. 2016) (internal quotation marks

omitted); see also Mittleman v. Postal Regulatory Comm’n, 757 F.3d 300, 307 (D.C. Cir. 2014).

“A violation is ‘patent’ if it is ‘[o]bvious’ or ‘apparent.’” Fla. Health Scis. Ctr., 830 F.3d at 522

(quoting Black’s Law Dictionary (10th ed. 2014)). An agency acts ultra vires when it takes action

that contradicts a statute or makes interpretive rules without authority to do so. Aid Ass’n for

Lutherans v. U.S. Postal Serv., 321 F.3d 1166, 1172 (D.C. Cir. 2003).

       The Secretary lacked statutory authority to promulgate the Rule. The CARES Act does

not give the Department any rulemaking authority, and the Department’s general rulemaking

power does not authorize it to impose special conditions on federal grants as it did in the Rule.

Even if Defendants did have rulemaking authority, they cannot lawfully promulgate a rule that

contradicts the Act. The Secretary’s effort to impose her own policy preferences regarding the

allocation of CARES Act funds between public and private schools exceeds her statutory authority

and therefore constitutes an unlawful ultra vires agency action in violation of the constitutional

separation of powers.

               1.       Congress delegated no rulemaking authority to the Secretary in the
                        CARES Act.

       The CARES Act itself does not give the Secretary rulemaking authority.                 Without

rulemaking authority, the Rule is void. See City of Los Angeles v. Barr, 941 F.3d 931, 942 (9th

Cir. 2019); see also City of Philadelphia v. Att’y Gen. of U.S., 916 F.3d 276, 288 (3d Cir. 2019).



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       Courts “expect Congress to speak clearly if it wishes to assign to an agency decisions of

vast economic and political significance.” Util. Air Regul. Grp. v. EPA, 573 U.S. 302, 324 (2014)

(internal quotation marks omitted). There is no such statement—clear or unclear—in the CARES

Act with respect to GEER and ESSER funds. Sections 18002 and 18003 direct the Secretary

simply to distribute the majority of the GEER and ESSER Funds to either the Governor of each

State or to each SEA in accordance with prescribed formulas—and nothing more. See CARES

Act §§ 18002(b) & 18003(b), 134 Stat. 564-565; supra 5-6.

       If the absence of a clear delegation of discretionary authority with respect to those funds

left any doubt, the Act does grant the Secretary discretionary authority to allocate 2.5 percent of

the HEER funds to the institutions of higher education that the Secretary determines have the

greatest unmet needs. See CARES Act § 18004(a)(3), 134 Stat. 567–558. Plainly, Congress knew

how to delegate discretionary authority to the Secretary when it wanted to do so. Yet it did not do

so with respect to the GEER and ESSER Funds; there, the Secretary’s only authority is to give the

funds to the States in prescribed amounts. Once GEER and ESSER funds are distributed as

subgrants—i.e., from the States to LEAs—they are not part of a program “administered” by the

Department. See 20 U.S.C. § 1221e-3. By placing restrictions on LEAs’ use of GEER and ESSER

funds that are no longer in a program “administered” by the Department, the Secretary plainly

imposed conditions “that were not authorized by Congress.” See Aid Ass’n for Lutherans, 321

F.3d at 1172.

                2.    The Secretary does not have rulemaking authority under the general
                      rulemaking provisions.

       With no rulemaking authority under the CARES Act, Defendants bypassed the Act and

instead cited two provisions of federal law outside the CARES Act—20 U.S.C. § 1221e-3 and §

3474—as conferring general rulemaking authority upon the Secretary with respect to the CARES



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Act. See 85 Fed. Reg. 39,481 & 39,488 (July 1, 2020). Neither statute authorizes the Department’s

promulgation of the Rule.

       The first statute, 20 U.S.C. § 1221e-3, confers general rulemaking authority on the

Secretary only to the extent necessary “to carry out functions otherwise vested in the Secretary by

law or by delegation of authority pursuant to law, and subject to limitations as may be otherwise

imposed by law.” Id. (emphasis added). But because the CARES Act unambiguously prescribes

the formula for LEAs to allocate the portion of their CARES Act funds reserved for the provision

of equitable services, the statute in no way “vest[s] in the Secretary” or “delegate[s]” to the

Secretary any “authority” whatsoever to prescribe the additional conditions or different formula in

the Rule.

       Similarly, the second statute, 20 U.S.C. § 3474, only authorizes the Secretary to prescribe

rules and regulations to the extent “necessary or appropriate to administer and manage the

functions of the Secretary or the Department.” Id. Because the Secretary’s only delegated

authority under the CARES Act is to disburse the funds per the amounts prescribed in the Act, the

Department’s Rule was neither “necessary” nor “appropriate” to carrying out the functions of the

Secretary or the Department.

               3.     Defendants cannot substitute their policy preferences for Congress’s
                      decisions.

       It does not matter that Defendants may disagree with Congress on policy. “[F]ederal

agencies may not ignore statutory mandates or prohibitions merely because of policy disagreement

with Congress.” In re Aiken County, 725 F.3d 255, 260 (D.C. Cir. 2013) (Kavanaugh, J.). In a

May 19, 2020 interview, the Secretary stated that the coronavirus pandemic “had brought into clear

focus that everyone has been impacted and we shouldn’t be thinking about students that are in




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public schools versus private schools.” 11 But it is not for the Secretary to decide how Congress

appropriates monies from the Treasury. “Absent congressional authorization, [an agency] may

not redistribute or withhold properly appropriated funds in order to effectuate its own policy goals

[without violating the separation of powers].” New York v. United States Dep’t of Health & Human

Servs., 414 F. Supp. 3d 475, 562 (S.D.N.Y. 2019) (alteration in original) (quoting San Francisco

v. Trump, 897 F.3d 1225, 1235 (9th Cir. 2018)).

        Ultra vires rules trample separation-of-powers principles. The authority of the executive

branch, including executive agencies, to act “must stem either from an act of Congress or from the

Constitution itself.” Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 585 (1952); see also

Clinton v. City of New York, 524 U.S. 417, 438 (1998) (“[N]o provision in the Constitution . . .

authorizes the President to enact, to amend, or to repeal statutes.”). The Secretary had no such

authority to act in promulgating the Rule. Plaintiffs are therefore likely to succeed on the merits

of their claim that the Rule was ultra vires in violation of the constitutional separation of powers.

                4.        The Rule is not entitled to Chevron deference.

        Even assuming that Defendants had rulemaking authority here—and they do not—the Rule

is an unlawful interpretation of an unambiguous statute.            The Court reviews Defendants’

construction of the CARES Act under the standard set out in Chevron, U.S.A. v. Natural Resources

Defense Council, 467 U.S. 837 (1984). Applying Chevron, the Secretary plainly acted in excess

of statutory authority.

        “When a court reviews an agency’s construction of the statute which it administers, it is

confronted with two questions. First, always, is the question whether Congress has directly spoken

to the precise question at issue. If the intent of Congress is clear, that is the end of the matter; for


11
  Valerie Strauss, Betsy DeVos Doubles Down on Her Education Agenda During the Pandemic,
WASH. POST (May 29, 2020), https://www.washingtonpost.com/education/2020/05/29/betsy-
devos-doubles-down-her-education-agenda-during-pandemic/
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the court, as well as the agency, must give effect to the unambiguously expressed intent of

Congress.” Chevron, 467 U.S. at 842–43.

       Congress directly spoke to the precise question of how LEAs are to allocate CARES Act

funds for equitable services. Section 18005 unambiguously instructs LEAs to “provide equitable

services in the same manner as provided under section 1117 of the ESEA.” CARES Act §18005,

134 Stat. 568 (emphasis added). Because “courts must presume that a legislature says in a statute

what it means and means in a statute what it says,” the Court must presume LEAs are to provide

equitable services to private-school students under the CARES Act on the same terms as prescribed

in section 1117 of the ESEA. See Conn. Nat’l Bank v. Germain, 503 U.S. 249, 253–54 (1992).

That includes section 1117’s directive that expenditures for equitable services to private-school

students “shall be . . . based on the number of children from low-income families who attend

private schools.” 20 U.S.C. § 6320(a)(4)(A) (emphases added). See, e.g., Nat’l Fed’n of Indep.

Bus. v. Sebelius, 567 U.S. 519, 545–46 (2012) (“[The Affordable Care Act’s] command that the

penalty be ‘assessed and collected in the same manner’ as taxes is best read as referring to those

chapters [of the Internal Revenue Code] and giving the [Treasury] Secretary the same authority

and guidance with respect to the penalty.” (emphases added)); Lawrence Cty. v. Lead-Deadwood

Sch. Dist. No. 40-1, 469 U.S. 256, 271 (1985) (reading a state statute requiring that federal funds

be distributed “in the same manner as taxes are distributed” to mean that localities allocated tax

revenues and federal aid in proportionally identical ways) (emphasis added).

       Because the plain text speaks directly to the question, the Rule is entitled to no deference,

and the Chevron inquiry ends here. When the words of a statute are unambiguous . . . ‘judicial

inquiry is complete.’” Germain, 503 U.S. at 254 ( (quoting Rubin v. United States, 449 U.S. 424,

430 (1981)). Congress spoke unambiguously here. It is no surprise, then, that both Republicans




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and Democrats in Congress have said that the Department’s interpretation does not reflect the plain

text of the statute or Congressional intent. See supra 10-11.

          Even if the Court were to conclude that section 18005 of the CARES Act is ambiguous—

and it is not—the Rule is an indefensible interpretation of the statute. If Congress had wanted

LEAs to use total private-school enrollment data when calculating the proportional share for

equitable services, it could easily have done so, by incorporating not section 1117 of the ESEA,

but rather section 8501 of that same law, which instructs LEAs to calculate expenditures for certain

services to private-school students in precisely that manner. See 20 U.S.C. § 7881(4)(A). “The

fact that [Congress] did not adopt this readily available and apparent alternative strongly supports”

the conclusion that it intended for LEAs to calculate expenditures of CARES Act funds for

equitable services based on low-income students as provided under section 1117. See Knight v.

Comm’r, 552 U.S. 181, 188 (2008); see also Azar v. Allina Health Servs., 139 S. Ct. 1804, 1813

(2019) (“Congress’s choice to include a cross-reference to one but not the other of the [statute’s]

neighboring exemptions strongly suggests it acted intentionally and purposefully in the disparate

decisions.”) (internal quotation marks omitted)).

          Equally telling is the fact that the Rule conflicts with the Department’s own prior guidance

concerning section 1117 of the ESEA. See supra 8. October 2019 guidance for LEAs receiving

Title I funds states in no uncertain terms that the equitable-services calculation is based on “an

accurate count of children from low-income families who attend public and private schools and

reside in participating Title I public school attendance areas in order to allocate the proportional

share.” 12 What is more, Department guidance has reflected that same understanding of section

1117 for decades, under both Republican and Democratic administrations. 13                  Thus the



12
     See supra n.2.
13
     See supra n.4.
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Department’s Rule—which quite literally interprets “in the same manner” to mean “in a different

manner”—is not only indefensible in light of the CARES Act’s plain text, but also turns decades-

old guidance about how to provide equitable services under section 1117 on its head.

               5.      The Rule’s attempt to limit spending to only Title I schools and its
                       requirement that the funding “supplement, not supplant” current
                       expenditures are ultra vires.

       Finally, the Rule’s attempts to limit spending of CARES Act funds to Title I schools and

to require that the funds “supplement, not supplant” current expenditures are in complete

contradiction to the CARES Act and are ultra vires.

       The CARES Act contains no restrictions on which schools within LEAs may receive the

benefit of the funds. Instead, the Act provides broad flexibility to LEAs to use the funds “to

provide educational services to their students and to support the on-going functionality of the

[LEA].” See CARES Act §§ 18002(c)(1), (3), 134 Stat. 565. The Rule’s limitation on the use of

funds only at Title I schools finds no support in, and directly contradicts, the Act.

       Likewise, the Secretary’s inclusion of the “supplement[,] not supplant” requirement, see

34 C.F.R. § 76.665(c)(3), appears nowhere in the text of the CARES Act. Indeed, as the

Department concedes in the Rule, that requirement is taken from “section 1118(b) of the ESEA,”

id.—a provision of the ESEA that the CARES Act nowhere mentions, much less incorporates.

“Congress often drafts statutes with hierarchical schemes—section, subsection, paragraph, and on

down the line.” NLRB. v. Sw. Gen., Inc., 137 S. Ct. 929, 938–39, (2017). But Congress did not

incorporate the entirety of Title I-A of the ESEA into the CARES Act. If Congress had intended

for LEAs to abide by the ESEA’s supplement-not-supplant provision, it would have incorporated

section 1118(b)(2) explicitly, just as it did section 1117. Cf. Morgan Stanley Cap. Grp. Inc. v.

Pub. Util. Dist. No. 1, 554 U.S. 527, 557 (2008) (“If Congress had intended to impose such detailed

constraints on the Commission’s authority . . . , it would have done so itself.”).


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       The Secretary may not rewrite the CARES Act to include either of these requirements

without exceeding her statutory authority.

       B.      Plaintiffs Are Likely to Succeed on the Merits of Their Claim that the Rule
               Violates the Spending Clause of the United States Constitution.

       Plaintiffs are also likely to succeed on the merits of their claim that the Rule violates the

Spending Clause of the United States Constitution. See U.S. Const. art. I, § 8. Under the Spending

Clause, conditions may be imposed on congressional funding measures only if they are

“unambiguous[]” and related “to the federal interest in particular . . . programs.” South Dakota v.

Dole, 483 U.S. 203, 207 (1987) (internal quotation marks omitted).

       The Rule’s conditions on the use of GEER and ESSER funds violate the Spending Clause’s

unambiguous requirement for two reasons. First, as discussed supra 21-22, the Act does not

include any of the Rule’s conditions on spending. Far from being unambiguous, the Act fully

contradicts the imposition of these conditions. See Pennhurst State Sch. & Hosp. v. Halderman,

451 U.S. 1, 17 (1981); see also Kollaritsch v. Mich. State Univ. Bd. of Trs., 944 F.3d 613, 629 (6th

Cir. 2019) (“Congress ha[s] to identify any condition on its funding ‘unambiguously.’”). The

GEER and ESSER provisions of the CARES Act “in no way suggest[] that the grant of . . . funds

is ‘conditioned’” on using the funds according to the Rule’s alternative options for allocating

equitable services. See Pennhurst, 451 U.S. at 23. Congress, therefore, did not in “clear terms”—

or any terms—authorize imposition of the Rule’s conditions under the Spending Clause. See id.;

City of Chi. v. Barr, 961 F.3d 882, 907 (7th Cir. 2020) (“Congress must speak with a clear voice”

to impose conditions under the Spending Clause.).

       Second, the Rule violates the Spending Clause’s prohibition on “post acceptance”

conditions. See Pennhurst, 451 U.S. at 25. “[L]egislation enacted pursuant to the spending power

is much in the nature of a contract.” Id. at 17. In this case, States applied for CARES Act funding

before the Secretary promulgated the Rule. Before the Rule took effect, States had already signed

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binding certifications in which they acknowledged their legal obligations under the CARES Act,

including Section 18005. See Ferrandino Decl. ¶ 26, Ex. 1. By doing so, States entered into a

contract with the federal government. See Sebelius, 567 U.S. at 577 (quoting Barnes v. Gorman,

536 U.S. 181, 186 (2002)). As with any contract, grant recipients “cannot knowingly accept

conditions of which they are ‘unaware’ or which they are ‘unable to ascertain.’” Arlington Cent.

Sch. Dist. Bd. of Educ. v. Murphy, 548 U.S. 291, 296 (2006) (quoting Pennhurst, 451 U.S. at 17).

As such, the federal government cannot “surpris[e]” grant recipients with funding conditions after

the recipients have legally accepted the terms of the grant. Pennhurst, 451 U.S. at 25. But that is

exactly what the Rule’s equitable-services allocation requirements do.

       C.      Plaintiffs Are Likely to Succeed on the Merits of Their APA Claims.

       Plaintiffs are equally likely to prevail on their claims that the Rule violates the APA.

Pursuant to the APA, the Court must “hold unlawful and set aside agency action, findings, and

conclusions” in a number of circumstances. Among those are when an agency action is “in excess

of statutory . . . authority,” is “not in accordance with law,” is “arbitrary [and] capricious,” or was

done “without observance of procedure required by law.” See 5 U.S.C. § 706(2). Each of these

circumstances applies to the Rule.

               1.      The Rule is ripe for review under the APA.

       As a threshold matter, the Rule is ripe for review because it is a “final agency action” within

the meaning of the APA. See 5 U.S.C. § 704. The Rule is an interim final rule which took

immediate effect upon its publication in the Federal Register on July 1, 2020, and is therefore a

“final agency action.” See Career Coll. Ass’n v. Riley, 74 F.3d 1265, 1268 (D.C. Cir. 1996); see

also 85 Fed. Reg. 39,479 (“This interim final rule is effective July 1, 2020.”).

               2.      The Rule was an agency action in excess of statutory authority and not
                       in accordance with law.




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       Just as the rule is ultra vires, it is in excess of the Department’s statutory authority within

the meaning of the APA. The APA commands a court to “hold unlawful and set aside agency

action” that is found to be “in excess of statutory jurisdiction, authority, or limitations, or short of

statutory right,” or “not in accordance with law.” 5 U.S.C. § 706(2)(A), (C). Under section 706(2),

“an administrative agency’s power to promulgate legislative regulations is limited to the authority

delegated by Congress.” Bowen v. Georgetown Univ. Hosp., 488 U.S. 204, 208 (1988). Without

rulemaking authority, regulations are invalid. Id. Even when an agency has rulemaking authority,

“[a]n agency’s general rulemaking authority does not mean that the specific rule the agency

promulgates is a valid exercise of that authority.” Colo. River Indian Tribes v. Nat’l Indian

Gaming Comm’n, 466 F.3d 134, 139 (D.C. Cir. 2006). Regulations that contradict statutory

authority violate the APA. See Holland v. Nat’l Min. Ass’n, 309 F.3d 808, 815 (D.C. Cir. 2002)

(noting APA’s “not in accordance with law” inquiry mirrors Chevron); Nat’l Min. Ass’n v.

Jackson, 768 F. Supp. 2d 34, 49 (D.D.C. 2014) (same with respect to APA’s “in excess of statutory

authority” inquiry).

       As explained above, see supra 15-16, the CARES Act does not give the Secretary

rulemaking authority and the Rule, therefore, violates the APA. Further, as detailed supra 16-17,

the Secretary’s only purported source of delegated authority to promulgate the Rule was her

general rulemaking authority, which permits her to “make, promulgate, issue, rescind, and amend

rules and regulations . . . governing the applicable programs administered by” the Department. 20

U.S.C. § 1221e-3; see also 85 Fed. Reg. 39,481. The Secretary plainly acted in excess of that

authority by imposing conditions on CARES Act funds that are not authorized by Congress and

that conflict with the exceedingly narrow discretionary authority with respect to a different fund

afforded her under the CARES Act.




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       Moreover, the Rule is contrary to the express language of the statute as outlined supra 15-

21. Regulations that are directly contrary to congressional statutes violate the APA.    See Doe, 1

v. FEC, 920 F.3d 866, 874 (D.D.C. 2019) (“It is hornbook law that an agency cannot grant itself

power via regulation that conflicts with plain statutory text.” (citing Orion Reserves Ltd. P’ship v.

Salazar, 553 F.3d 697, 703 (D.C. Cir. 2009) (“[R]egulation contrary to a statute is void.”)).

       Accordingly, for the same reasons that Plaintiffs are likely to prevail on their ultra vires

claim, see supra 15-21, they are also likely to prevail on an APA claim that the Secretary acted in

excess of her statutory authority.

               3.      The Rule was arbitrary and capricious.

       Under the APA, a reviewing court must hold unlawful any agency action that was

“arbitrary [and] capricious.” 5 U.S.C. § 706(2)(A). An agency’s rule is arbitrary and capricious

if, for example, the agency has “relied on factors which Congress has not intended it to consider,

entirely failed to consider an important aspect of the problem, offered an explanation for its

decision that runs counter to the evidence before the agency, or is so implausible that it could not

be ascribed to a difference in view or the product of agency expertise.” Motor Vehicle Mfrs. Ass’n

of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983). The Rule is arbitrary and

capricious in numerous respects.

       First, the Secretary ignored important aspects of the problem that she unilaterally granted

herself authority to address. See id.; Oceana, Inc. v. Ross, 363 F. Supp. 3d 67, 94 (D.D.C. 2019)

(“The APA requires agencies to examine all relevant data and consider all important aspects

of a problem.”)

       To begin, the Secretary lacked any data to support the Rule. The Secretary offered no

evidence of an equal, or even proportional, need for CARES Act funds by private-school students.

See 85 Fed. Reg. 39,479. Unlike the statute as written, the Secretary made no attempt to consider,


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much less determine, the relative costs and benefits of the Rule for public- and private-school

students where private schools educate only 1% of low-income students in America. See id. The

Secretary’s failure to provide any data at all in support of the Rule renders the Rule arbitrary and

capricious. See, e.g., Nat’l Treasury Emps. Union v. Horner, 854 F.2d 490, 492 (D.C. Cir. 1988)

(“Because OPM has presented no data to support its rationale . . . we also affirm . . . that the

decision was arbitrary and capricious.”); Resolute Forest Prods., Inc. v. U.S. Dep’t of Agric., 187

F. Supp. 3d 100, 123 (D.D.C. 2016) (“[W]here an agency . . . has not made a reasonable effort to

ensure that appropriate data was relied upon, its decision is arbitrary and capricious and should be

overturned.”).

       Moreover, the Secretary ignored critical aspects of the problem.          For example, the

Secretary failed to consider the obvious fact that public schools are funded through state and local

budgets, which have been decimated by the pandemic, as opposed to private schools, which are

funded by parents (with relatively secure employment), affluent donors, and endowments. Private

schools were also able to obtain funding under the Payroll Protection Program (“PPP”)—funds

unavailable to virtually any public schools. See CARES Act § 1102, 134 Stat. 286. Allowing

private schools to benefit from GEER and ESSER funding significantly above the amounts

Congress intended, as well as PPP funding, is unjustifiable double-dipping. The Secretary also

failed to consider that it was reasonable for Congress to direct CARES Act funds, which had to be

disbursed quickly in light of the pandemic, in the same way it usually directs funds—restricting

the allocation of such funds for equitable services based on those private-school students with

demonstrable need and risk.

       Second, the Secretary “relied on factors which Congress has not intended [her] to

consider.” See State Farm, 463 U.S. at 43. For example, the Secretary criticized the application

of section 1117’s calculation because she claimed it “would disadvantage some students based

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simply on where they live,” 85 Fed. Reg. 39,479. But, Congress did not intend the Secretary to

consider what she thought were the pros and cons of calculating equitable services under section

1117—the statute plainly required use of this calculation method regardless of the Secretary’s

personal opinions on the method. Meanwhile, the Secretary ignored Congress’s intention that

ESSER Funds be available to meet the needs of maintaining “staff,” “students,” “facilities,” and

“buildings” in an LEA, CARES Act § 18003(d)(1)–(12), 134 Stat. 565–567, instead forcing LEAs

to choose whether to maximize their CARES Act funds for public schools, but only use the funds

on Title I public schools, or else forfeit significant sums of their CARES Act funding to benefit

private schools. The Secretary also imposed a “supplement, not supplant” requirement that

appears nowhere in the CARES Act.

       Third, the Secretary’s abrupt change in position from prior guidance resulted in an

“[u]nexplained inconsistency” that the Department has yet to acknowledge. See Nat’l Cable &

Telecomms. Ass’n v. Brand X Internet Servs., 545 U.S. 967, 981 (2005); FCC v. Fox Television

Stations, Inc., 556 U.S. 502, 516 (2009) (holding that when an agency changes policy, “a reasoned

explanation is needed for disregarding facts and circumstances that . . . were engendered by the

prior policy”). At all times before April 30, 2020, the Department instructed school districts to

“[e]nsure that [their] expenditures for equitable services are equal to the proportion of funds

generated by children from low-income families who reside in participating Title I public school

attendance areas and attend private schools.” See supra 10-11. The Department has never

adequately explained its about-face. See State Farm, 463 U.S. at 52 (requiring agencies to “offer

a rational connection between the facts found and the choices made,” including “justification for

rescinding the regulation”) (internal quotation marks omitted); Dep’t of Homeland Sec. v. Regents

of the Univ. of Cal., 140 S. Ct. 1891, 1913 (2020) (requiring an agency to provide “reasoned

analysis” before rescinding a “prior policy”).

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       Fourth, the Secretary failed to consider LEAs’ reliance on guidance published prior to April

30, 2020. “When an agency changes course,” the Supreme Court has cautioned, “it must be

cognizant that longstanding policies may have engendered serious reliance interests that must be

taken into account.” Regents of the Univ. of Cal., 140 S. Ct. at 1913 (internal quotation marks

omitted). LEAs have calculated funds for equitable services under section 1117 in the same way

for decades. The October 2019 Guidance, which is still in effect, reaffirmed that LEAs must

apportion funds for equitable services based on the number of children from low-income families

who attend private schools. See supra 8.           LEAs budgeted for FY 2020–2021 with the

understanding that section 18005 directed them to provide equitable services “in the same manner

as” section 1117 of the ESEA. The Rule now imposes a radically different manner of apportioning

these funds that unleashes profound financial uncertainty. Where, as here, the prior policy

engendered “serious reliance interests,” an agency must provide “a more detailed justification than

what would suffice for a new policy created on a blank slate.” Fox Television, 566 U.S. at 515.

The Secretary has never offered any justification, let alone a detailed one.

               4.      The Rule was enacted without observance of procedure required by
                       law.

       Under the APA, a reviewing court also must hold unlawful any agency action that was

enacted “without observance of procedure required by law.” 5 U.S.C. § 706(2)(D). The proper

procedure for rulemaking requires that all proposed rules be enacted pursuant to notice-and-

comment proceedings. Id. § 553(b) (“General notice of proposed rulemaking shall be published

in the Federal Register.”); id. § 553(c) (“After notice required by this section, the agency shall give

interested persons an opportunity to participate in the rule making through submission of written

data, views, or arguments.”). An agency is only exempt from this procedure if it “for good cause

finds (and incorporates the finding and a brief statement of reasons therefor in the rules issued)



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that” notice-and-comment was “impracticable, unnecessary, or contrary to the public interest.” Id.

§ 553(b)(3)(B).

       The Secretary promulgated the Rule as an interim final rule without notice-and-comment

proceedings required by the APA. The Secretary lacked “good cause” to find notice-and-comment

rulemaking prohibitively impracticable, unnecessary, or contrary to the public interest. See 85

Fed. Reg. 39,483–84. The Court owes “no particular deference” to the Secretary’s finding that

she did have good cause, Mack Trucks, Inc. v. EPA, 682 F.3d 87, 93 (D.C. Cir. 2012), which is

reviewed de novo, Sorenson Commc’ns Inc. v. FCC., 755 F.3d 702, 706 (D.C. Cir. 2014). What

is more, the good cause exception “is to be narrowly construed and only reluctantly countenanced.”

Util. Solid Waste Activities Grp. v. EPA, 236 F.3d 749, 754 (D.C. Cir. 2001) (internal quotation

marks omitted). The Secretary’s invocation of the good-cause exception here fails.

                      (a)     Promulgation of the Rule with notice-and-comment was neither
                              “impracticable” nor “unnecessary.”

       An agency may invoke the impracticability exception in two circumstances, neither of

which is applicable here. First is “where congressional deadlines are very tight and where the

statute is particularly complicated.” Methodist Hosp. of Sacramento v. Shalala, 38 F.3d 1225, 1236

(D.C. Cir. 1994); see also Petry v. Block, 737 F.2d 1193, 1203 (D.C. Cir. 1984) (upholding a good-

cause determination where statute required the agency to promulgate “complex” regulations within

a matter of months). Second is where immediate rulemaking was necessary to avoid a threat to life

or property. See, e.g., Jifry v. FAA, 370 F.3d 1174, 1179 (D.C. Cir. 2004) (upholding expedited

pilot license regulations where immediate rulemaking was “necessary to prevent a possible

imminent hazard to aircraft, persons, and property within the United States”); Council of S.

Mountains, Inc. v. Donovan, 653 F.2d 573, 581 (D.C. Cir. 1981) (upholding agency’s fast-track

implementation of certain “life-saving” mining regulations).



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       It is true that the CARES Act is a multi-part law addressing an immediate and serious

public health situation. But, the provisions about equitable services funding are straightforward,

and neither circumstance justifying the lack of notice-and-comment procedures applies to the Rule.

       First, Congress did not direct the Department of Education to promulgate any rules

concerning the implementation of section 18005, so the agency cannot claim that expedited

rulemaking was required to fulfill a congressional mandate.

       Second, LEAs knew full well how to implement equitable services “in the same manner as

section 1117.” They have been doing it for decades and had already set their budgets based on

their long-established practices. There was no need for immediate rulemaking, or any rulemaking

whatsoever, to disrupt these practices. Congress provided LEAs with clear instructions on how to

allocate funding for equitable services in the text of section 18005, States had already signed

certifications stipulating to those statutory requirements, and LEAs were moving forward to

implement the statute’s straightforward direction.       Far from being necessary to address

confusion—the Rule has created confusion and delay for school districts, to their detriment. 14

       Nor can the Department claim public comment was “unnecessary.”                 5 U.S.C. §

553(b)(3)(B). That prong of the good-cause inquiry is “confined to those situations in which the

administrative rule is a routine determination, insignificant in nature and impact, and

inconsequential to the industry and to the public.” Util. Solid Waste Activities Grp., 236 F.3d at

755. The Rule is none of those, and the Department’s explanation did not suggest otherwise.

                      (b)     Promulgation of the Rule without notice and comment was not
                              in the “public interest.”


14
  See supra n.9 at 2 (“However, the Department’s actions caused considerable confusion for states
and LEAs and slowed down their emergency response efforts. As of July 9, just four percent of
$16.1 billion in CARES Act funding that can be used for K-12 education has been spent, even
though such funding only covers a portion of unanticipated costs and lost revenues associated with
the pandemic.”).

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       Finally, an agency may invoke the “public interest” exception “only in the rare

circumstance when ordinary procedures—generally presumed to serve the public interest—would

in fact harm that interest.” Mack Trucks, 682 F.3d at 95. This exception applies when advance

notice of rulemaking would encourage regulated parties to engage in the very unlawful behaviors

that the “rule sought to prevent.” Util. Solid Waste Activities Grp., 236 F.3d at 755. There is no

reason why notice-and-comment would harm the public interest in proper or timely

implementation of equitable services.      Indeed, the public interest in notice-and-comment

procedures is particularly acute because the Rule will impact almost every State and LEA in the

country and disrupt decades-old methods of calculating expenditures for equitable services. See

Am. Fed’n of Gov’t Emps., AFL-CIO v. Block, 655 F.2d 1153, 1156 (D.C. Cir. 1981) (“The more

expansive the regulatory reach of these rules, of course, the greater the necessity for public

comment.”). And, as explained above, the Rule creates confusion where there was none.

       In sum, the Rule is in excess of the Department’s statutory authority, directly contradicts

the CARES Act, is arbitrary and capricious, and was implemented without observance of

procedure required by law. Plaintiffs are likely to succeed on the merits of their APA claims.

II.    PLAINTIFFS WILL BE IRREPARABLY HARMED ABSENT INJUNCTIVE RELIEF.

       Absent a preliminary injunction, Plaintiffs will suffer irreparable harm in the form of

increased risks to health and safety, lost education time, and unrecoverable economic losses.

Defendants have admitted that this issue must be resolved promptly. In issuing the Rule, the

Department stated that “[t]he CARES Act programs were enacted to address the immediate effects

of COVID-19,” and that “time is of the essence” because “of the current national emergency, its

disruption on education in both public and non-public schools, and the immediate need for

certainty regarding applicable requirements.”       85 Fed. Reg. 39,483-84.     This preliminary

injunction seeks that certainty.


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       Given the urgency of the moment, Plaintiff LEAs are allocating CARES Act funds to their

public schools now to spend for the upcoming school year. Lucero Decl. ¶ 10; Blair Decl. ¶ 11-

12, 18; Lerma Decl. ¶ 8; Mailliard Decl. ¶ 10. Were it not for the Rule, Plaintiff LEAs would

simply calculate the equitable-services amount and allocate funds to schools in the same manner

as they always have. Lucero Decl. ¶ 14; Blair Decl. ¶ 18; Ferrandino Decl. ¶ 22. Those funds

would pay for crucial items such as Personal Protective Equipment (“PPE”) and desperately

needed sanitation services, a host of distance-learning technologies, critical faculty and support

personnel, and meals and nutritional support programs for public-school students. E.g., Lucero

Decl. ¶¶ 11, 16–18; McDonald Decl. ¶ 13; Ferrandino Decl. ¶ 25; Mailliard Decl. ¶ 12. Instead,

because of the Rule, LEAs either have to delay allocating funds until the legality of the Rule is

adjudicated, thereby delaying services past the start of the school year, or be forced to divert

hundreds of millions of dollars in CARES Act funds from public schools to provide equitable

services for private-school students. Lucero Decl. ¶ 10, 13-14, 16-18; Lerma Decl. ¶¶ 9-10;

McDonald Decl. ¶¶ 22-24; Gohl Decl. ¶ 13; Ferrandino Decl. ¶ 22-23; Mailliard Decl. ¶ 10; 15 see

also State of Michigan v. DeVos, 3:20-cv-04478, Dkt. No. 25 at 9 (N.D. Cal.) (noting plaintiffs

estimate they will have to divert over $150 million in CARES Act funds). In either case, the harm

is irreparable. E.g., Lucero Decl. ¶¶ 15-18; McDonald Decl. ¶¶ 22-24. Lost time is unrecoverable,

as are the services that would be funded but-for the unlawful diversion of those funds from public

schools to private-school students. See id.




15
  Plaintiffs’ declarations highlight how every LEA/school district in the country receiving
CARES Act funds will be harmed by the Rule—along with every student in those school
districts. With or without a declaration, and based on the plain text of the Rule, the evidence is
clear that every district will have to either set aside a greater proportion of their CARES Act
funds for private school students than Congress intended, reducing the amount of funds they can
spend for public school students, or submit to illegal limitations on the expenditure of the funds.
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       This irreparable harm accrues directly to individual Plaintiffs and their minor children.

Each day that LEAs delay acting denies students the critical educational tools and programs they

need to learn—preventing schools from being able to “hit the road running,” either in person or

remotely, as they begin to go back in session. Lucero Decl. ¶ 17; McDonald Decl. ¶¶ 22-23; Gohl

Decl. ¶¶ 15-16; Ferrandino Decl. ¶ 24-25. If students’ school districts are forced to “choose” one

of the Rule’s two options, individual Plaintiffs and their minor children will face irreparable harm

regardless whether they attend a Title I school or non-Title I school, and regardless which option

their districts choose. Lucero Decl. ¶¶ 15-18; McDonald Decl. ¶¶ 22-24; Gohl Decl. ¶¶ 15-16;

Ferrandino Decl. ¶¶ 22-25; Mailliard Decl. ¶¶ 12-13; supra 12-13.

       For individual Plaintiffs and their minor children, this means that their educational progress

will suffer. The high-quality education that Congress intended to ensure with CARES Act funds

will be replaced by underfunded remote learning (less hardware, software, remote curriculum

support, and teacher training), on the one hand or unsafe and under-resourced in-person learning,

on the other. Lucero Decl. ¶¶ 17-18; Blair Decl. ¶ 15; McDonald Decl. ¶ 15-16, 19-21; Gohl Decl.

¶¶ 15-16; Ferrandino Decl. ¶ 15; Mailliard Decl. ¶ 13. Every day that this harm continues is a

learning day lost for Plaintiffs’ minor children.

       “[T]o characterize Plaintiffs’ claimed harm as merely ‘economic,’” therefore, would be “

terribly misguided.” Confederated Tribes of Chehalis Reservation v. Mnuchin, No. 20-cv-01002

(APM), 2020 WL 1984297, *8 (D.D.C. Apr. 27, 2020). The real effect of the Rule—at least until

its illegality can be adjudicated on the merits—is to preclude LEAs’ provision of essential health

and educational services for students in public schools, further imperiling the students’ physical

and mental health and safety, and delaying their educations. Lucero Decl. ¶¶ 16–17; McDonald

Decl. ¶ 15-16, 19-21. As detailed below, courts in this Circuit recognize such harms to health and

education as quintessentially “irreparable” in nature.

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       Even if Plaintiffs’ harms were merely “economic,” they are nevertheless irreparable

because the loss of federal funds for public schools is certain, imminent, and unrecoverable. See

Asante v. Azar, No. 20-CV-601 (TSC), 2020 WL 1930263, at *3 (D.D.C. Apr. 21, 2020) (citing

Texas Children’s Hosp. v. Burwell, 76 F. Supp. 3d 224, 242 (D.D.C. 2014)). As this Court recently

explained in granting a preliminary injunction prohibiting an agency from unlawfully distributing

CARES Act funds earmarked for Tribal governments, “[t]hese are not funds appropriated to carry

out secondary or residual government functions. These are monies that Congress appropriated on

an emergency basis to assist Tribal governments in providing core public services to battle a

pandemic that is ravaging the nation.” Chehalis Reservation, 2020 WL 1984297, at *8 (internal

citation omitted). The same is true of CARES Act funds for public schools.

       A.     Plaintiffs Will Suffer Irreparable Harm to Public-School Students’ Health
              Absent an Injunction.

       First, the Rule places the health and physical and mental well-being of public-school

students—and by extension, their entire families—in jeopardy. If school districts do not receive

the CARES Act funds that Congress appropriated for them, they cannot reopen public schools

safely by purchasing sufficient PPE, reducing class sizes, and/or hiring critical sanitation

personnel, school nurses, and other health professionals. Lucero Decl. ¶¶ 16–17; McDonald Decl.

¶ 15, 19; Maillard Decl. ¶ 11. Absent a preliminary injunction, then, the Department’s Rule thus

threatens the bodily health of public-school children and their families with the potential

contraction and/or transmission of the notoriously deadly coronavirus.

       Such a showing is more than sufficient to establish irreparable harm. “Facing requests for

preliminary injunctive relief, courts often find a showing of irreparable harm where the movant’s

health is in imminent danger.” Al-Joudi v. Bush, 406 F. Supp. 2d 13, 20 (D.D.C. 2005) (citing

Wilson v. Grp. Hosp. & Med. Servs., Inc., 791 F. Supp. 309, 314 (D.D.C. 1992) (granting

preliminary injunction where cancer patient’s “health and future remain[ed] in serious doubt” and

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insurance would not pay for life-saving treatment)). Indeed, this Court recently concluded that

“Plaintiff [inmates]’ risk of contracting COVID-19 and the resulting complications, including the

possibility of death, is the prototypical irreparable harm.” Banks v. Booth, No. 20-849 (CKK),

2020 WL 3303006, at *16 (D.D.C. June 18, 2020); see also Blackman v. District of Columbia, 185

F.R.D. 4, 6–7 (D.D.C. 1999) (referring to related case in which court found plaintiff had

established irreparable harm where defendant was not administering critical medication to a child).

Plaintiffs need not demonstrate a personal risk of contracting the coronavirus in order to make an

adequate showing of irreparable harm. See id. (rejecting defendants’ argument that plaintiffs failed

to demonstrate irreparable harm because they did not submit evidence of each individual plaintiff’s

personal risk of contracting COVID-19). In this case, the “‘risk to human life need not be a

certainty to justify expedition,’” particularly where the “‘very purpose of the governing Act is to

protect those lives.’” Agua Caliente Band of Chuilla Indians v. Mnuchin, No. 20-cv-01136 (APM),

2020 WL 325071, at *3 (D.D.C. June 15, 2020) (quoting Public Health Citizen Rsch. Grp. v.

Auchter, 702 F.2d 1160, 1157–58 & n.26 (D.C. Cir. 1983)).

       B.      Plaintiffs Will Suffer Irreparable Harm to Public-School Students’ Education
               Absent an Injunction.

       Second, the Rule jeopardizes the continuing education of public-school students, including

Plaintiffs, whether they are in non-Title I public schools in mixed districts, in Title I schools in

mixed districts, or in Title I-schools in Title I-only districts. See Lucero Decl. ¶¶ 15-18; Blair

Decl. ¶ 15; McDonald Decl. ¶¶ 18-24; Gohl Decl. ¶¶ 15-16; Ferrandino Decl. ¶¶ 22-25; Mailliard

Decl. ¶¶ 12-13. The Rule is already delaying what was supposed to be the immediate delivery of

funds to public schools, which means that, at best, public schools will have to begin the school

year without resources necessary to support remote learning. See Lucero Decl. ¶¶ 18, 22;

McDonald Decl. ¶¶ 22-23; Gohl Decl. ¶ 13-14; Mailliard Decl. ¶ 13. At worst, public schools will

not be able to deliver those resources to their students at all. See Blair Decl. ¶¶ 14-16; Lucero

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Decl. ¶ 10, 13-14, 16-18; Gohl Decl. ¶ 18; Ferrandino Decl. ¶ 24-25; Mailliard Decl. ¶ 11. This

has significant consequences for our most vulnerable students. To take just a few examples:

School Districts have “been planning in an effort to provide quality teaching and learning since

March,” including by budgeting amounts to purchase particular software for remote learning.

Lucero Decl. ¶ 17. They also have been planning to hire key personnel, such as technology support

specialists, to train teachers on the use of remote-learning technology and enable teachers to

livestream to homes from the classroom. Id. If school districts cannot allocate the correct,

anticipated funds to public schools using the proportional calculation under section 1117, they

cannot afford such programs or personnel at all. Id. ¶¶ 15-16. Even if their use of those funds is

delayed but not prohibited entirely, the effect would be the same, because critical personnel would

not be available to hire in the middle of the year. Id. ¶ 18; see also McDonald Decl. ¶¶ 22-24.

       Similarly, each dollar diverted to a private school from a public school results in direct,

irreparable harm to students. “For every $277 of CARES Act funds diverted from the DPS’s

public schools, whether Title I or non-Title I schools,” for example, “a public-school student loses

out on a desperately needed internet-connected device that would allow the student to participate

in remote learning while schools are closed due to the pandemic.” Ferrandino Decl. ¶ 32.

Likewise, “[f]or every $80,447 diverted from DPS’s public schools, whether Title I or non-Title I,

the public school, a public-school teacher risks losing his or her position and thus the ability to

educate students during the pandemic.” Id. ¶ 33.

       This showing, too, is sufficient to demonstrate irreparable harm. See Lofton v. District of

Columbia., 7 F. Supp. 3d 117, 124 (D.D.C. 2013) (finding irreparable harm because every week a

student was deprived of services “is another week that [the student’s] educational progress is

delayed and, [the district] cannot retroactively cure the harm caused by those missed weeks of

required service”); see also id. (noting that students have “a finite amount of time to receive

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educational services”); Blackman v. District of Columbia, 185 F.R.D. 4, 7–8 (D.D.C. 1999) (“[T]o

a young, growing person, time is critical. While a few months in the life of an adult may be

insignificant, at the rate at which a child develops and changes, especially one at the onset of

biological adolescence with or without special needs like those of our plaintiffs, a few months can

make a word of difference in the life of that child.”); Cox v. Brown, 498 F. Supp. 823, 828–29

(D.D.C. 1980) (finding that irreparable harm results when students “[lack] each day of their young

lives an appropriate education, one that is sensitive to their particular disabilities, commensurate

to their levels of understanding, and fulfilling of their immediate needs”).

       C.      Even if Plaintiffs’ Harms Were Merely “Economic,” Those Harms Are
               Irreparable Because the Losses of CARES Act Funds Are Imminent, Certain,
               and Unrecoverable.

       Even assuming Plaintiffs’ harms are merely “economic” in nature—and they are not—such

harms are irreparable for at least three reasons. See Asante, 2020 WL 1930263, at *3 (holding that

“economic losses can be sufficient” to show irreparable harm “if [the losses] are unrecoverable

and threaten the existence of the business or, in the non-profit context, result in substantial

reduction of services” (citing Texas Children’s Hosp., 76 F. Supp. 3d at 242)); see also Nat’l Min.

Ass’n, 768 F. Supp. 2d at 53 (recognizing that if a movant “has shown that financial losses are

certain, imminent, and unrecoverable,” “the imposition of a preliminary injunction is appropriate

and necessary”).

       First, Plaintiff LEAs’ losses of CARES Act funds are “unrecoverable.” Texas Children’s

Hosp., 76 F. Supp. 3d at 242. Funds are considered “unrecoverable” when no statutory provision

exists for recouping the funds. See id. Here, the Rule directly curtails the control Congress gave

LEAs over emergency funds to provide essential services to the neediest students. If not for the

Rule, Plaintiff LEAs would distribute the funds as both they and Congress intended—according

to section 1117 of the ESEA, which measures funds to be shared with private schools based on the

number of students from low-income families in those schools. There is no statutory provision
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that would enable Plaintiffs to recoup these funds once disbursed under the Rule. See Texas

Children’s Hosp., 76 F. Supp. 3d at 244; California v. Azar, 911 F.3d 558, 581 (9th Cir. 2018)

(uncompensable financial harm is irreparable harm). And, as described above, even if Plaintiffs

were somehow to recoup the funds from private schools, it would be too late to spend them on

items such as the hiring of critical support staff. See supra 35-36.

       Second, Plaintiffs will suffer “certain” losses of CARES Act funds in the absence of a

preliminary injunction, see Wis. Gas Co. v. FERC, 758 F.2d 669, 674 (D.C. Cir. 1985), because

LEAs must allocate funds to private-school students before they can spend any CARES Act funds

on public schools. 34 C.F.R. § 76.665(b)(1); 85 Fed. Reg. 39,483 (“[A]n LEA cannot begin

services for public or non-public school students and teachers without consulting on determining

the amount of funds available for those services.”).

       The Rule thus requires LEAs to make a pre-allocation decision between either (1)

allocating CARES Act funds based on total private-school enrollment, thereby forgoing millions

of dollars in CARES Act funds that would otherwise be allocated to their public schools, see 34

C.F.R. § 76.665(c)(1)(ii); or (2) allocating CARES Act funds based on low-income private-school

enrollment, thereby forgoing any CARES Act funds for their non-Title I public schools and

accepting a restrictive “supplement, not supplant” requirement that is found nowhere in the

CARES Act, see 34 C.F.R. § 76.665(c)(1)(i). Once they make that choice, LEAs may not use any

of the CARES Act funds allocated for private-school equitable services in their public schools,

must abide by any restrictions that the Rule imposes on CARES Act funds for their public schools,

and must expend CARES Act funds on equitable services requested by private schools.

       In contrast, were the Court to issue a preliminary injunction preserving the status quo,

Plaintiff LEAs would instead allocate equitable services “in the same manner” as under section

1117 of the ESEA—just as Congress intended—and thereafter enjoy immediate access to

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substantially more, or less restricted, CARES Act funds for their public schools. See supra 32.

Plaintiff LEAs’ economic losses of CARES Act funds are “certain” absent a preliminary

injunction.

        Third, Plaintiffs will suffer an “imminent” loss of CARES Act funds absent a preliminary

injunction. For one, LEAs need CARES Act funds right now. Plaintiff LEAs are finalizing public-

school budgets for the 2020–2021 school year at this very moment. See supra 32-33. Without

preliminary injunctive relief, LEAs will be forced to budget for the upcoming school year based

on the illegal Rule, requiring them to cut programs, services, and staff from their budgets that

would have been affordable under the CARES Act’s plain text. See id.

       LEA “Plaintiffs, moreover, are not for-profit entities facing the loss of profit; rather, they

are non-profits for whom lost funds would mean reducing . . . services to children.” Texas

Children’s Hosp., 76 F. Supp. 3d at 243. For example, the CARES Act funds that LEAs will lose

under the Rule could pay SPS’s costs of hiring Technical Support Specialists for each of its school

buildings to assist teachers, staff, and students with learning technology; technology teachers

districtwide; and a counselor and dean of students, positions that were eliminated due to budget

cuts that forced SPS to cut over $12.5 million in staff, services, and programming last year. Lucero

Decl. ¶ 17. Similarly, the CARES Act funds that LEAs stand to lose could pay for the following

costs in Pasadena Unified: providing nutritional programs to meet the COVID-19–related spike in

public-school children and families needing food; purchasing technology software and hardware

for distance learning; making essential physical changes to public-school facilities to stop the

spread of COVID-19; and paying for PPE necessary for increased cleaning. McDonald Decl. ¶ 13.

       Finally, irreparable harm to Plaintiffs is both “certain” and “imminent” because of the

COVID-19 pandemic. Congress made a “policy judgment” that LEAs are in dire need of

emergency relief, so they are “presumed already to be suffering great harm.” See Agua Caliente

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Band, , 2020 WL 3250701, at *3 (“Congress made a policy judgment that Tribal governments are

in dire need of emergency relief to aid in their public health efforts and imposed an incredibly

short time limit to distribute those dollars. Tribal governments therefore are presumed already to

be suffering great harm . . . . Considering the public health challenges presented by the COVID-

19 pandemic, the damage done by further delay cannot be fully cured by later remedial action,

rendering Plaintiffs’ harm irreparable.” (emphasis added) (citing Harris v. Bd. of Supervisors, L.A.

Cty., 366 F.3d 754, 766 (9th Cir. 2004); Kildare v. Saenz, 325 F.3d 1078, 1083 (9th Cir. 2003)));

see CARES Act § 18003(d)(12), 134 Stat. 566–567 (authorizing LEAs to expend ESSER funds

on any “activities that are necessary to maintain the operation of and continuity of services in

[LEAs] and continuing to employ existing staff of the [LEA]”). Plaintiffs’ showing is more than

sufficient to establish irreparable harm.

       D.      Plaintiffs Will Face Irreparable Administrative and Legal Burdens Absent an
               Injunction.

       Finally, Plaintiff LEAs will suffer irreparable harm in the form of administrative and legal

burdens absent a preliminary injunction. LEAs are already incurring—and, absent an injunction,

will continue to incur—substantial staffing and time burdens in choosing between the options the

Rule imposes, determining the impact of each option, and reviewing existing resources and needs

in light of those impacts. Lucero Decl. ¶ 19; McDonald Decl. ¶ 25; Blair Decl. ¶ 17; Gohl Decl. ¶

15-16. They will also incur severe burdens associated with using a new calculation for equitable

services—after decades using another formula. Lucero Decl. ¶ 20; Gohl Decl. ¶ 15-16; Mailliard

Decl. ¶¶ 14-16. This burden could not come at a worse time, as LEAs are already stretched beyond

administrative capacity dealing with the pandemic’s unprecedented challenges. Lucero Decl. ¶

19; McDonald Decl. ¶ 25.

       Plaintiff LEAs will also incur these burdens while under the threat of legal liability.

Pursuant to the CARES Act, States applying for ESSER funds must certify that their LEAs will

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comply with section 18005 and “any other applicable law or regulation.” Ferrandino Decl. ¶ 26,

Ex. 1. Because of the direct conflict between the statute and the Rule, LEAs must either violate

the statute or violate the Rule. See id. This Hobson’s choice is yet another irreparable harm

Plaintiffs face absent an injunction. See Am. Trucking Ass’ns, Inc. v. City of Los Angeles, 559 F.3d

1046, 1057–58 (9th Cir. 2009) (finding irreparable harm where plaintiff had to choose between

two options, either of which would result in monetary penalties); Kimberly–Clark Corporation v.

District of Columbia, 286 F. Supp. 3d 128, 147 (D.D.C. 2017) (holding that plaintiff’s having to

face imminent decision whether to comply with regulation, potentially in violation of the First

Amendment, or expose itself to civil penalties, constituted irreparable harm).

III.   THE BALANCE OF EQUITIES AND PUBLIC INTEREST FAVOR PLAINTIFFS.

       “[T]he third and fourth factors required for injunctive relief—balancing of the equities and

the public interest—merge where a plaintiff seeks preliminary relief against the government.”

Everglades Harvesting & Hauling, Inc. v. Scalia, 427 F. Supp. 3d 101, 116 (D.D.C. 2019) (citing

Nken v. Holder, 556 U.S. 418, 435 (2009)). Here, those factors weigh heavily in favor of Plaintiffs.

       “The primary ‘purpose of a preliminary injunction is to preserve the object of the

controversy in its then existing condition—to preserve the status quo.’” Aamer v. Obama, 742 F.3d

1023, 1043 (D.C. Cir. 2014) (quoting Doeskin Prods., Inc. v. United Paper Co., 195 F.2d 356, 358

(7th Cir. 1952)). Here, issuance of a preliminary injunction accomplishes this purpose with no

harm to Defendants or to the public interest. Defendants “cannot suffer harm from an injunction

that merely ends an unlawful practice.” Open Cmtys. Alliance v. Carson, 286 F. Supp. 3d 148,

179 (D.D.C. 2017). If Plaintiffs prevail on the merits of their facial challenge, the effect will only

be to end an unlawful practice by the Department.

       The public interest also favors protecting Plaintiff LEAs’ ability to serve vulnerable

students, including Plaintiff public-school children and their parents, so they can safely continue


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to receive an adequate education during the pandemic, as Congress intended. Indeed, “an agency’s

compliance with a mandatory statutory regime is presumably always in the public interest.”

Protect Democracy Project, Inc. v. U.S. Dep’t of Def., 263 F. Supp. 3d 293, 301 (D.D.C. 2017);

see also Jacksonville Port Auth. v. Adams, 556 F.2d 52, 59 (D.C. Cir. 1977) (“[T]here is an

overriding public interest . . . in the general importance of an agency’s faithful adherence to its

statutory mandate.”). Should Plaintiffs prevail on the merits of their facial challenge to the Rule,

Plaintiffs will succeed only in enforcing Defendants’ faithful adherence to the statute.

       Preserving the status quo would not harm Defendants, and refraining from enforcing the

Rule will cost Defendants nothing. Plaintiffs merely seek to keep in place the decades-old funding

formula provided under section 1117 of the ESEA and incorporated in the CARES Act—the same

formula that Defendants recognized as valid in their October 2019 guidance that continues in

effect. The requested preliminary injunction, which stays the Rule, generates no negative public

consequences; allowing the Rule to stand, on the other hand, imposes significant public harm.

Accordingly, both the balance of harms and the public interest favor a preliminary injunction.

IV.    PLAINTIFFS ARE ENTITLED TO NATIONWIDE RELIEF.

       Finally, Plaintiffs are entitled to a nationwide preliminary injunction. As detailed above,

Plaintiffs are likely to succeed on the merits of their facial challenge to the Rule. The D.C. Circuit

has held “that ‘[w]hen a reviewing court determines that agency regulations are unlawful, the

ordinary result is that the rules are vacated—not that their application to the individual petitioners

is proscribed.’” Nat’l Min. Ass’n v. U.S. Army Corps of Eng’rs, 145 F.3d 1399, 1409 (D.C. Cir.

1998) (alteration in original) (quoting Harmon v. Thornburgh, 878 F.2d 484, 495 n.21 (D.C. Cir.

1989)); see also, e.g., Humane Soc’y of U.S. v. Zinke, 865 F.3d 585, 614 (D.C. Cir. 2017) (“A

common remedy when we find a rule is invalid is to vacate.”); Blue Water Navy Viet. Veterans




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Ass’n, Inc. v. McDonald, 830 F.3d 570, 578 (D.C. Cir. 2016) (“[V]acatur is the ‘normal remedy.’”)

(quoting Allina Health Servs. v. Sebelius, 746 F.3d 1102, 1110 (D.C. Cir. 2014)).

       “That a nationwide remedy is necessary to provide complete relief for promulgation of an

unlawful rule follows from the nature of the claim that the rule is facially unlawful.” District of

Columbia v. U.S. Dep’t of Agric., No. CV 20-119 (BAH), 2020 WL 1236657, at *34 (D.D.C. Mar.

13, 2020). That is because “when a plaintiff proves that a rule was unlawfully promulgated, halting

the rule’s application to the plaintiff may lessen the real-world impact of the unlawful rule on the

plaintiff[,] but does not fully redress ‘the violation established’—that is, the promulgation of an

unlawful rule.” Id.

       The same rationale has equal force in the preliminary injunction context here. See,

e.g., Doe v. Rumsfeld, 341 F. Supp. 2d 1, 18–19 (D.D.C. 2004) (entering a permanent injunction,

after having issued a preliminary injunction, of the Department of Defense’s “involuntary anthrax

inoculation program” as to “all persons,” not just the plaintiffs); see also, e.g., Doe 1 v. Trump,

275 F. Supp. 3d 167, 217 (D.D.C. 2017) (entering preliminary injunction of policy banning

transgender individuals from the military in case filed by current and aspiring military service

members without discussing scope of relief), vacated on other grounds sub nom. Doe 2 v.

Shanahan, 755 F. App’x 19 (D.C. Cir. 2019); Planned Parenthood Fed’n of Am., Inc., v. Heckler,

712 F.2d 650, 651 (D.C. Cir. 1983) (affirming preliminary and then final injunction prohibiting

enforcement of federal regulations).

       Further, “[t]he record in this case establishes that implementation of the [Rule] would have

‘nationwide impact’ and would cause injuries of ‘sufficient similarity to the plaintiff[s’]’ to other

states and individuals throughout the country.” Dep’t of Agric., 2020 WL 1236657, at *35

(quoting Cal. v. Azar, 911 F.3d 558, 584 (9th Cir. 2018)). Plaintiffs have presented evidence of

the Rule’s harm to LEAs and public-school children and their families across at least thirteen

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States, see supra 31-41, and the NAACP’s members and their schoolchildren live in states across

the country, Goode Decl. ¶ 4. Almost every State and LEA in the country faces the same harms,

and the threatened loss of congressionally guaranteed emergency funding by the innumerable,

similarly situated districts and public-school children and families in other States merits

nationwide preliminary relief. See Dep’t of Agric., 2020 WL 1236657, at *31 (citing Trump v.

Int’l Refugee Assistance Project, 137 S. Ct. 2080, 2088–89 (2017)).

V.     ALTERNATIVELY, PLAINTIFFS ARE ENTITLED TO EXPEDITED SUMMARY JUDGMENT.

       For the reasons above, Plaintiffs are entitled to a preliminary injunction. If the Court

concludes, however, that Plaintiffs are not entitled to a preliminary injunction, Plaintiffs request

that the Court convert this motion to a motion for summary judgment, expedite Defendants’

briefing and the Court’s consideration of the motion, including submission of the administrative

record, and enter judgment for Plaintiffs. 16 At the very least, the Court should expedite briefing

and consideration of Counts 1–5, which do not depend on the administrative record.

       Expedited consideration on the merits is consistent with the federal rules and with the

resolution of APA cases by this Court. Under the federal rules, “[b]efore or after beginning the

hearing on a motion for a preliminary injunction, the court may advance the trial on the merits and

consolidate it with the hearing.” Fed. R. Civ. P. 65(a)(2). And “a party may file a motion for

summary judgment at any time until 30 days after the close of all discovery.” Id. 56(b). In an

APA case like this one, “summary judgment serves as the mechanism for deciding, as a matter of

law, whether the agency action is supported by the administrative record and otherwise consistent


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   Plaintiffs’ counsel conferred with Defendants’ counsel to propose a briefing schedule that would
allow the parties to file cross-motions for partial summary judgment on an expedited basis. Kravis
Decl. ¶ 2. Defendants’ counsel subsequently informed Plaintiffs’ counsel that they were unwilling
to agree to the proposal. Id. ¶ 3. Defendants’ counsel also requested a three-day extension of the
typical seven-day deadline to respond to Plaintiffs’ motion for preliminary injunction. Id. ¶ 4. As
a matter of courtesy, Plaintiffs agreed to that request as long as this did not jeopardize a hearing
the week of August 31 at the Court’s convenience. Id.
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with the APA standard of review. . . In other words, the entire case . . . is a question of law and

the district court sits as an appellate tribunal.” Navajo Nation v. Azar, 302 F. Supp. 3d 429, 435

(D.D.C. 2018) (Friedrich, J.) (internal quotation marks and citations omitted). For that reason, “in

APA cases early summary judgment motions are often appropriate, as ‘[t]he entire case on review

is a question of law, and only a question of law.’” Am. Hosp. Ass’n v. Dep’t of Health & Hum.

Srvs., No. 18-2112 (JDB), 2018 WL 5777397, at *2 (D.D.C. Nov. 2, 2018) (quoting Marshall Cty.

Health Care Auth. v. Shalala, 988 F.2d 1221, 1226 (D.C. Cir. 1993)). This Court and others in

this Circuit can and routinely do resolve APA cases on expedited cross-motions for summary

judgment. See Navajo Nation v. Azar, 292 F. Supp. 3d 508, 513 (D.D.C. 2018) (Friedrich, J.); see

also, e.g., L.M.-M. v. Cuccinelli, No. 19-2676 (RDM), 2020 WL 985376, at *8 (D.D.C. Mar. 1,

2020); Am. Hosp. Ass’n, 2018 WL 5777397, at *2.

       Expedited consideration is warranted here. For the reasons set forth above, the Rule is

preventing delivery of critical emergency relief to schools and students. As Congress recognized

when passing the CARES Act, public schools are facing unprecedented challenges due to COVID-

19, and every day that passes without clarity on the Rule is a day of education lost for our nation’s

most vulnerable students. What is more, Plaintiffs’ lawsuit raises legal issues that can be addressed

efficiently through expedited summary judgment. Most of Plaintiffs’ claims present questions of

law that do not require an administrative record, and the claims that do require an administrative

record are exceedingly narrow—limited to the Department’s reasons for promulgating the Rule.

Finally, Plaintiffs are entitled to judgment on the merits for the reasons explained above. If the

Court enters judgment on the merits for Plaintiffs, it should vacate the Rule.

                                          CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that this Court grant their motion

for preliminary injunctive relief or, in the alternative, enter judgment for Plaintiffs.


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Dated: August 11, 2020             Respectfully submitted,

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